                                                       Entered on Docket
                                                       July 12, 2018
                                                       EDWARD J. EMMONS, CLERK
                                                       U.S. BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA



1    JEFF HOFFMAN SBN: 225569
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     LAW OFFICE OF
     JEFF D. HOFFMAN
3    825 Washington, Suite 330
                                                     The following constitutes the order of the court.
     Oakland, CA 94607                               Signed July 12, 2018
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     Telephone: (510) 451-0290
5    Facsimile: (510) 451-0292

6    Attorney for Debtor,                                  ________________________________________
                                                           William J. Lafferty, III
     DAVID F. GUERRERO                                     U.S. Bankruptcy Judge
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11                               UNITED STATES BANKRUPTCY COURT

12                               NORTHERN DISTRICT OF CALIFORNIA
13
     In re                                              Case No.: 17-42867
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     DAVID F. GUERRERO,                                 Chapter 13
15
                    Debtor                              ORDER GRANTING MOTION TO
16
                                                        APPROVE TRIAL LOAN MODIFICATION
17                                                      AGREEMENT AND AUTHORIZING
                                                        TRUSTEE TO MAKE DISTRIBUTIONS
18                                                      PRIOR TO CONFIRMATION
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             On April 4, 2018, David F. Guerrero (the “Debtor”) filed a Motion to Approve Trial Loan
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     Modification Agreement and Authorizing Trustee to Make Distributions Prior to Confirmation [Dkt.
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     No.27] (the “Motion”) seeking approval of a trial loan modification agreement entered into with (the
23   “Lender”), which was attached as Exhibit A to the Motion (the “Trial Agreement”). Upon due
24   consideration, and for good cause shown, the Court hereby orders as follows:
25           1.     The Motion is granted.

26           2.        The Trial Agreement is approved and the Debtor is authorized to enter into the

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     Trial Agreement.
             3.        The Debtor and the Lender are authorized to execute and all documents necessary to
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     effectuate and implement the terms of the Trial Agreement.
                                                       1
     FORM ND-MMM-107                                                               VERSION 1.00 (August 1, 2015)

     ORDER GRANTING MOTION TO APPROVE TRIAL LOAN MODIFICATION AGREEMENT AND AUTHORIZING TRUSTEE TO
     Case:  17-42867 PRIOR
     MAKE DISTRIBUTIONS Doc#   31 Filed: 07/12/18
                           TO CONFIRMATION                 Entered: 07/12/18 13:50:49            Page 1 of 4
             4.        The terms of the Trial Agreement are incorporated into this Order.
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             5.        Pursuant to the Debtor’s Chapter 13 Plan [Dkt. No. 26], the Trustee is authorized to
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     make distributions to the Lender prior to confirmation as follows:
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                     _X_      A.      Monthly Payments. The Debtor’s trial payments to the Lender shall
5    be in the amount of $1,937.38 per month, which includes principal, interest, and escrow amounts for
6    property taxes and insurance. The effective interest rate for the trial payments shall be 4.625% per
7    annum. The trial payments shall commence on April 1, 2018 and continue through June 1, 2018.

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                     ___      B.      Lump Sum Payment. The Debtor has made payments to the Trustee
     sufficient to satisfy the Lender’s requirements for __ trial payments in the aggregate amount of $__,
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     which includes principal, interest, and escrow amounts for property taxes and insurance. The
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     effective interest rate for the trial payments shall be __% per annum. This single lump sum payment
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     shall be disbursed immediately.
12           6. The Trustee shall make the payment(s) specified in Paragraph (5) of this Order payable to
13   loanDepot and mailed to loanDepot, Payment Processing Center, PO Box 54040, Los Angeles, CA
14   90054-0040. The last four digits of the account number or the other unique identifier for the trial

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     payment(s) is 6188.
             7. Within twenty eight (28) days after the date the Trustee makes the final payment to the
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     Lender as required by the Trial Agreement, the Lender shall provide the Debtor with a final loan
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     modification agreement.
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             8. The Court shall retain jurisdiction with respect to all matters arising from or related to the
19   implementation of this Order, including but not limited to, interpretation and enforcement of the Trial
20   Agreement.
21           9. This order should not be construed as judicial approval of any specific modification

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     terms but merely serves as the Court’s approval of entering into the trial loan modification
     agreement.
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     FORM ND-MMM-107                                                                  VERSION 1.00 (August 1, 2015)

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            10. The trial payments shall begin April 2018 from the Debtor’s March 2018 plan
2    payment and continue through June 2018; the initial payment shall be considered timely if sent
3    by the Chapter 13 Trustee no later than 30 days from the entry of the order approving the trial
4    loan modification or the Trustee’s next disbursement cycle.
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                                         *** END OF ORDER ***

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     APPROVED AS TO FORM AND CONTENT
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10   /s/ Kristin A. Zilberstein                   Dated: 7/10/18
     Signature
11   By:     Kristin A. Zilberstein___
     Its:    Attorney___
12

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     Approved:
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15
     /s/ Martha G. Bronitsky
16   Martha G. Bronitsky, Chapter 13 Trustee

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     7-10-18
     DATE
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     FORM ND-MMM-107                                                            VERSION 1.00 (August 1, 2015)

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                                            Court Service List
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     FORM ND-MMM-107                                                           VERSION 1.00 (August 1, 2015)

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